                                        Case 4:24-cv-04722-YGR               Document 121     Filed 03/04/25      Page 1 of 16




                                  1
                                                                         UNITED STATES DISTRICT COURT
                                  2
                                                                       NORTHERN DISTRICT OF CALIFORNIA
                                  3

                                  4    ELON MUSK, ET AL.,                                   Case No.: 4:24-CV-4722-YGR
                                  5                                                         ORDER DENYING MOTION FOR A
                                                   Plaintiffs,                              PRELIMINARY INJUNCTION
                                  6
                                              v.
                                  7                                                         Re: Dkt. Nos. 46, 118.
                                       OPENAI, INC., ET AL.,
                                  8
                                                    Defendants.
                                  9

                                  10          Plaintiffs Elon Musk, Shivon Zilis, and X.AI Corp. (“xAI”) collectively move for a
                                  11   preliminary injunction barring defendants from engaging in various business activities, which
Northern District of California




                                  12   plaintiffs claim violate federal antitrust and state law. The relief requested is extraordinary and
 United States District Court




                                  13   rarely granted as it seeks the ultimate relief of the case on an expedited basis, with a cursory record,
                                  14   and without the benefit of a trial.
                                  15          Having carefully considered the papers submitted and the pleadings in this action, including
                                  16   oral argument, and for the reasons set forth below, the Court hereby FINDS that plaintiffs have
                                  17   failed to meet their burden of proof for the extraordinary relief requested and DENIES the motion.
                                  18   That said, the Court is prepared to offer an expedited schedule on the core claims driving this
                                  19   litigation, while staying the balance. Such an approach would be more efficient and address the
                                  20   issues which are allegedly more urgent in terms of public, not private, considerations.
                                  21   I.     BACKGROUND
                                  22          Elon Musk (individually and on derivatively behalf of OpenAI, Inc. (“OpenAI”)); Shivon
                                  23   Zilis (derivatively on behalf of Open AI); and xAI assert twenty-six claims against Samuel Altman,
                                  24   Gregory Brockman, OpenAI, twenty entities owned and controlled by OpenAI, Microsoft
                                  25   Corporation (“Microsoft”), Deannah Templeton, Reid Hoffman, and California Attorney General
                                  26   Rob Bonta.1
                                  27
                                              1
                                  28          Plaintiff Musk filed a complaint on August 5, 2024, and the operative First Amended
                                       Complaint (“FAC”) on November 14, 2024. The FAC added Zilis and xAI as plaintiffs, and
                                        Case 4:24-cv-04722-YGR           Document 121           Filed 03/04/25   Page 2 of 16




                                  1            Plaintiffs allege in the FAC as follows:
                                  2            Altman, OpenAI’s co-founder and chief executive officer (“CEO”), and Brockman,
                                  3    OpenAI’s co-founder and former chief technology officer, took advantage of Musk’s altruism in
                                  4    order to lure him into funding the venture. While pretending to share Musk’s concern about the
                                  5    trajectory of the artificial intelligence (“AI”) industry, Altman and Brockman solicited millions in
                                  6    donations from Musk to build OpenAI on the promise that the organization would put people over
                                  7    profit and serve as a counterweight to the other dominant players in the AI space. With full
                                  8    knowledge that Musk’s money was contingent upon using his money charitably, defendants set
                                  9    about building a for-profit behemoth contrary to their original promises. (See generally, FAC ¶¶ 82-
                                  10   124.)
                                  11           Defendants’ secretive venture included an effort by Microsoft to “exploit” OpenAI. (Id.
                                  12   ¶ 98.) As part of this, Altman established a vast network of for-profit entities in which both he and
Northern District of California
 United States District Court




                                  13   Microsoft hold significant ownership stakes. Further, OpenAI and Microsoft have several
                                  14   contractual arrangements, including, for example, Microsoft’s agreement to supply raw materials to
                                  15   OpenAI and OpenAI’s granting Microsoft an exclusive license to its technology. (Id. ¶¶ 99, 112,
                                  16   133.) Defendants have ensured OpenAI’s board is full of directors fully aligned with Altman and
                                  17   Brockman’s interests, such that independent directors constitute only a minority of the board. (See
                                  18   id., ¶¶ 161-67.) In this regard, Microsoft “obtained an influential non-voting director seat on the
                                  19   Board from which it could keep a close eye on its non-profit golden goose.” (Id. ¶ 168.) Defendant
                                  20   Deannah Templeton occupied this seat until Microsoft voluntarily relinquished that observer spot in
                                  21   July 2024 after antitrust regulators began to investigate the arrangement.
                                  22           Musk was a member of OpenAI from its inception through his resignation in February
                                  23   2018. (Id. ¶ 231.) Zilis is a former employee who was a member from March 2019 until her
                                  24   resignation in March 2023. (Id. ¶ 232.)
                                  25                                                      ***
                                  26

                                  27

                                  28   Microsoft, Templeton, Hoffman, and Bonta as defendants. It also lists Bonta as a defendant because
                                       he has not yet responded to plaintiffs’ efforts to join him as a plaintiff.

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                                        Case 4:24-cv-04722-YGR             Document 121         Filed 03/04/25       Page 3 of 16




                                  1             In its motion for a preliminary injunction, plaintiffs note that in March 2023, Musk started
                                  2    xAI, a public benefit corporation, in order to “effectuate his longstanding commitments to open-
                                  3    source AI.” (Dkt. No. 46, Plaintiffs’ Motion for a Preliminary Injunction (“Mtn.”) at 4.) Plaintiffs
                                  4    contend that OpenAI has grown significantly and become a leader in the AI industry and they
                                  5    request that the Court issue an order:
                                  6
                                                        [E]njoining Defendants, as well as their officers, agents, servants,
                                  7                     employees, attorneys, and all other persons in active concert or
                                                        participation with Defendants, during the pendency of this litigation,
                                  8                     from:
                                  9                     (1) directly or indirectly undertaking any action for the purpose of, or
                                                            tending to have the effect of, making, enforcing, or furthering
                                  10                        agreements not to invest in OpenAI’s competitors, such as xAI;
                                  11
                                                        (2) directly or indirectly undertaking any action for the purpose of, or
                                  12                        tending to have the effect of, interlocking directorates or
Northern District of California




                                                            benefitting from wrongfully obtained competitively sensitive
 United States District Court




                                  13
                                                            information or coordination via the Microsoft-OpenAI board
                                  14                        interlocks;

                                  15                    (3) directly or indirectly undertaking any action for the purpose of, or
                                                            tending to have the effect of, furthering the conversion of OpenAI,
                                  16
                                                            Inc. to a for-profit enterprise or transferring any material assets,
                                  17                        including intellectual property owned, held, or controlled by
                                                            OpenAI, Inc., its subsidiaries, or affiliates; and/or
                                  18
                                                        (4) directly or indirectly undertaking any action for the purpose of, or
                                  19
                                                            tending to have the effect of, causing OpenAI, Inc. to contract or
                                  20                        do business with any entity in which any Defendant has a material
                                                            financial interest.
                                  21
                                       (Id. at i-ii.)
                                  22
                                       II.      LEGAL STANDARD
                                  23
                                                The United States Supreme Court has consistently held that a “preliminary injunction is an
                                  24
                                       extraordinary remedy never awarded as of right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,
                                  25
                                       24 (2008). A plaintiff seeking a preliminary injunction must establish that the plaintiff is both
                                  26
                                       likely to succeed on the merits, and likely to suffer irreparable harm in the absence of preliminary
                                  27
                                       relief, and further that the balance of equities tips in plaintiff’s favor, and that an injunction is in the
                                  28



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                                        Case 4:24-cv-04722-YGR            Document 121         Filed 03/04/25      Page 4 of 16




                                  1    public interest. Id. at 20. Alternatively, a preliminary injunction may issue where “serious questions
                                  2    going to the merits were raised and the balance of hardships tips sharply in plaintiff’s favor” if the
                                  3    plaintiff “also shows that there is a likelihood of irreparable injury and that the injunction is in the
                                  4    public interest.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). This is
                                  5    the Ninth Circuit’s “sliding scale” approach, in which “the elements of a preliminary injunction test
                                  6    are balanced, so that a stronger showing of one element may offset a weaker showing of another.”
                                  7    Id. at 1131. In all cases, at an “irreducible minimum,” the party seeking an injunction “must
                                  8    demonstrate a fair chance of success on the merits, or questions serious enough to require
                                  9    litigation.” Pimental v. Dreyfus, 670 F.3d 1096, 1105–06 (9th Cir. 2012) (quoting Guzman v.
                                  10   Shewry, 552 F.3d 941, 948 (9th Cir. 2009)).
                                  11   III.   ANALYSIS
                                  12          Based on the foregoing, the Court begins with evaluating the merits of the subset of claims
Northern District of California
 United States District Court




                                  13   upon which the motion is brought.
                                  14          A.      Injunction Request No. 1: Violation of Section 1 of the Sherman Act
                                  15          Plaintiffs Musk and xAI argue that an injunction is warranted because defendants Microsoft
                                  16   and OpenAI have violated the Sherman Act. The claim is based on the alleged issuance of a so-
                                  17   called “fund no competitors” edict issued by OpenAI and Microsoft allegedly commanding OpenAI
                                  18   investors to avoid investing in any competitor.
                                  19          Section 1 of the Sherman Act provides: “Every contract, combination in the form of trust or
                                  20   otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with
                                  21   foreign nations, is declared to be illegal.” 15 U.S.C. § 1. To bring such a claim, plaintiffs must first
                                  22   demonstrate Article III injury and statutory standing. To do so, plaintiffs “must allege (1) unlawful
                                  23   conduct, (2) causing an injury to [themselves], (3) that flows from that which makes the conduct
                                  24   unlawful, and (4) that is of the type the antitrust laws were intended to prevent.” PLS.Com, LLC v.
                                  25   Nat’l. Assoc. of Realtors, 32 F.4th 824, 833 (9th Cir. 2022). With regard to the first prong, the
                                  26   Supreme Court has interpreted Section 1 to prohibit only unreasonable restraints on trade. To
                                  27   determine reasonableness, two approaches are used:
                                                     Some practices are so harmful to competition and so rarely prove
                                  28
                                                     justified that the antitrust laws do not require proof that an agreement


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                                        Case 4:24-cv-04722-YGR            Document 121         Filed 03/04/25      Page 5 of 16




                                                      of that kind is, in fact, anticompetitive in the particular circumstances.
                                  1
                                                      These practices are per se violations of the Sherman Act, and [courts]
                                  2                   presume that they are anticompetitive without inquiry into the
                                                      particular market context in which [they] are found.
                                  3
                                       Id. (internal cites omitted). Others are analyzed under the so-called “rule of reason,” which require
                                  4
                                       a highly “fact-specific assessment of market power and market structure . . . to assess the restraint's
                                  5
                                       actual effect on competition.” Id. at 834 (internal cites omitted). Plaintiffs here allege that the edict
                                  6
                                       constitutes a Sherman Act violation under either analysis.2
                                  7
                                              In terms of a per se violation, the Ninth Circuit in PLS described the group boycott as
                                  8
                                       follows:
                                  9
                                                      The classic “group boycott” is a concerted attempt by a group of
                                  10                  competitors at one level to protect themselves from competition from
                                                      non-group members who seek to compete at that level. Typically, the
                                  11                  boycotting group combines to deprive would-be competitors of a trade
                                  12                  relationship which they need in order to enter (or survive in) the level
Northern District of California




                                                      wherein the group operates. The group may accomplish its
 United States District Court




                                  13                  exclusionary purpose by inducing suppliers not to sell to potential
                                                      competitors, by inducing customers not to buy from them, or, in some
                                  14
                                                      cases, by refusing to deal with would-be competitors themselves. In
                                  15                  each instance, however, the hallmark of the “group boycott” is the
                                                      effort of competitors to “barricade themselves from competition at
                                  16                  their own level.”
                                  17
                                       Id. At a minimum, a horizontal agreement is needed to find a group boycott, but case law speaks of
                                  18
                                       two distinct types: a prototypical group boycott occurs where an agreement exists among the
                                  19
                                       instigators of the boycott. Honey Bum, 63 F.4th at 821. By contrast, a so-called “hub and spoke
                                  20
                                       group boycott” occurs “where one dominant firm pressures other firms at a different level of the
                                  21
                                       supply chain” to boycott.” Id. Importantly, because horizontal agreement must be shown in order to
                                  22

                                  23          2
                                                 Plaintiffs primarily argue they have shown a per se violation, but argue that if the Court
                                       disagrees, they have also shown a modified per se violation, which is analyzed under the rule of
                                  24
                                       reason and defined as a boycott “where some or all of the following characteristics are met: (1) the
                                  25   defendant's restriction cut[s] off access to a supply, facility, or market necessary to enable the
                                       boycotted firm to compete; (2) the defendant possesse[s] a dominant position in the relevant
                                  26   market; and (3) the defendant's restriction is not justified by plausible arguments that [it is]
                                  27
                                       intended to enhance overall efficiency and make markets more competitive.” Honey Bum, LLC v.
                                       Fashion Nova, Inc., 63 F.4th 813, 821 (9th Cir. 2023) (internal cites omitted). Merely stating the
                                  28   rule is insufficient. Plaintiffs have woefully failed to present an evidentiary record to support all of
                                       the elements required to make this finding, even in preliminary form.

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                                        Case 4:24-cv-04722-YGR           Document 121         Filed 03/04/25      Page 6 of 16




                                  1    invoke the protections of the per se violation analysis, “plaintiffs can successfully invoke the per se
                                  2    rule in a hub-and-spoke conspiracy only if they prove horizontal agreements among the spokes.” Id.
                                  3           Here, defendants first argue, and the Court agrees, that Musk himself has no Article III or
                                  4    antitrust standing to make this request. Musk himself is not xAI, nor has he presented any evidence
                                  5    of harm flowing from an antitrust injury. In fact, the natural extension of this litigation-based
                                  6    argument would be to suggest that Musk is the alter ego of xAI. At oral argument, plaintiffs’
                                  7    counsel confirmed the intention was not to argue that Musk is an alter-ego of xAI. The Court thus
                                  8    proceeds with its analysis by focusing solely on xAI as the moving party.3
                                  9           xAI claims it has provided evidence of both a classic and hub and spoke boycott by
                                  10   submitting three news articles from the Financial Times, Reuters, and Wall Street Journal
                                  11   describing an OpenAI request that its funders not contribute to any competitors. (See Dkt. No. 32-
                                  12   36, FAC, Ex. 25; see Dkt. No. 46-9, Mtn., Ex. 8; Dkt. No. 46-10, Mtn., Ex. 9.)4 Newspaper articles
Northern District of California
 United States District Court




                                  13   are classic hearsay and, in a court of law, cannot be relied upon for the truth of statements made
                                  14   therein. While technically a court may consider hearsay evidence while ruling on a motion for a
                                  15   preliminary injunction, Flynt Distributing Co., Inc. v. Harvey, 734 F.2d 1389, 1394 (9th Cir. 1984),
                                  16   the Court here affords the articles little weight. Under the totality of the circumstances, these
                                  17   articles do little to satisfy the evidentiary burden of proof on this element. Despite Musk’s
                                  18          3
                                               Because the Court finds Musk lacks standing to bring this claim, the Court grants the
                                  19   pending motion on this issue. Further briefing on this topic is not necessary.

                                  20          4
                                                  The Court notes that xAI submitted declarations along with their reply which they claim
                                       are relevant. Evidence in support of a motion must be submitted with the motion in order to allow
                                  21
                                       the opposing party to respond. Evidence submitted in reply is properly disregarded as the Court
                                  22   does here. Most of this late-proffered evidence refers to “common knowledge” among OpenAI
                                       investors throughout OpenAI’s funding round, thus belying any argument that the evidence could
                                  23   not have been timely submitted.
                                                In any event, for the small number of evidentiary items plaintiffs attest they only learned
                                  24
                                       after filing the instant motion, the declarations submitted do not compel a different result. They
                                  25   either merely describe the customary investment atmosphere, which may or may not, be reasonable
                                       or, constitute hearsay. (See Dkt. No. 73-31, ¶ 3; Dkt. No. 73-33, ¶ 3 (one states that “it was
                                  26   common knowledge in and among this close-knit investment community that OpenAI . . . imposed
                                  27
                                       as a condition to any investment allocation that investors agree not to fund OpenAI’s competitors”)
                                       and Dkt. No. 73-32, ¶¶ 3, 5 (one from xAI’s chief financial officer stating that one “renowned
                                  28   institutional investor” informed him of the edict, while another “reputable venture capital investor
                                       and an investor in OpenAI, informed [him] that they would not invest in xAI because of it.).)

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                                        Case 4:24-cv-04722-YGR              Document 121         Filed 03/04/25      Page 7 of 16




                                  1    influence, xAI admitted that it could not provide a single declaration from an investor to confirm its
                                  2    theory.
                                  3              Further, as defendants rightly note, xAI has not actually alleged, or provided evidence of, an
                                  4    actual agreement between Microsoft and OpenAI to collude. That Microsoft is a major investor in
                                  5    OpenAI does not, by itself, support such a finding.
                                  6              Even if the Court afforded a measure of reliability to the articles, xAI fails again to rebut
                                  7    defendants’ argument that there are several possible pro-competitive justifications for preferring
                                  8    investors who give only to OpenAI:
                                  9
                                                        . . . it is beneficial to have a diversity of sophisticated and experienced
                                  10                    venture capital firms meaningful[ly] involved in a new business, as
                                                        they can provide management and financial expertise. That
                                  11                    involvement will be more productive if key investors have access to
                                                        proprietary information that may be competitively sensitive, which
                                  12
                                                        could otherwise be misused to anti-competitive effect if the investing
Northern District of California
 United States District Court




                                  13                    firm is also meaningfully involved and invested in a competitor.

                                  14   (Dkt. No. 64, OpenAI Defendants’ Opposition to Plaintiffs’ Motion for a Preliminary Injunction
                                  15   (“OpenAI Oppo.”) at 11-12.) The Court takes no position on the ultimate issue of fact, only noting
                                  16   that, at this juncture, who is to succeed on the merits is debatable.
                                  17             Finally, upon xAI’s urging at oral argument, OpenAI submitted a declaration from Altman
                                  18   himself, denying the allegations. Far from an edict, Altman and OpenAI portray the reported
                                  19   request as an offer: investors were told that their continued access to certain confidential
                                  20   information belonging to OpenAI was contingent upon their agreement not to invest in any
                                  21   competitor. In his declaration, Altman stated:
                                  22
                                                        I understand that Plaintiffs claim that I told investors in the October
                                  23                    2024 funding round that their ability to invest in OpenAI was
                                                        contingent on forgoing investment in OpenAI’s competitors, including
                                  24
                                                        xAI. That claim is false. I did not tell any investor in the October 2024
                                  25                    funding round that their ability to invest in OpenAI was subject to that
                                                        condition, nor to my knowledge did anyone else at OpenAI. Instead,
                                  26                    certain investors who were to be granted access to OpenAI’s
                                                        confidential information on an ongoing basis were informed that
                                  27
                                                        OpenAI would need to terminate their rights to that information if they
                                  28                    made non-passive investments in OpenAI’s competitors. That
                                                        restriction is necessary to protect against the misuse of OpenAI’s


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                                        Case 4:24-cv-04722-YGR            Document 121         Filed 03/04/25      Page 8 of 16




                                                      competitively-sensitive information, and I understand it is industry
                                  1
                                                      standard for that reason.
                                  2
                                       (Dkt. No. 107 at ¶¶ 4-8.)
                                  3
                                              Thus, in terms of the four Winter factors, the Court finds that plaintiffs have failed to show
                                  4
                                       that they are likely to succeed on the merits on their antitrust allegations. First, plaintiffs have
                                  5
                                       provided no direct evidence of a horizontal agreement to boycott. As to a classic boycott, that
                                  6
                                       Microsoft and OpenAI have a close business relationship cannot by itself impute the one’s behavior
                                  7
                                       to the other. Plaintiffs provide no admissible evidence that the two entities agreed to foment any
                                  8
                                       such boycott. Even the news articles make only passing reference to Microsoft as an investor in
                                  9
                                       OpenAI without any indication of an agreement. Further, plaintiffs offer no admissible evidence
                                  10
                                       from the investors themselves nor any rebuttal to the possible business justification. Based on the
                                  11
                                       lack of any substantive evidentiary showing, the motion fails to justify the imposition of
                                  12
Northern District of California




                                       extraordinary relief.
 United States District Court




                                  13
                                              Second, xAI fails to show irreparable harm. xAI’s proffer of a single reference via
                                  14
                                       declaration to one investor’s decision is insufficient. Nor did xAI deny OpenAI’s argument that it
                                  15
                                       has demonstrated remarkable fundraising success by raising over $11 billion, including from some
                                  16
                                       of OpenAI’s investors. Even if any edict did exist, the evidentiary record does not demonstrate
                                  17
                                       irreparable injury.5
                                  18
                                              The request for injunction number one on this ground is DENIED.
                                  19
                                              B.      Injunction Request No. 2: Interlocking Directorates
                                  20
                                              Next, plaintiffs allege a violation of Section 8 of the Clayton Act and seek an injunction
                                  21
                                       barring any interlocking directorates on the Microsoft and OpenAI boards as well as barring either
                                  22
                                       corporation from benefiting from improper information sharing.
                                  23

                                  24          5
                                                 xAI’s argument to the contrary does not persuade. It claims that the Court should consider
                                  25   that the generative AI market is different, “with strong network effects and significant first-mover
                                       advantages” such that the dynamics of this market result in irreparable harm. (Id.) Again, xAI fails
                                  26   to comprehend its evidentiary burden. The only evidence submitted to support this argument is a
                                  27
                                       statement from Microsoft’s CEO stating that since the AI industry is nascent, OpenAI enjoyed a
                                       “two-year lead” in which to become a dominant player. (See Dkt. No. 73-19.) The sole statement
                                  28   cited cannot, without more, support the sweeping arguments about irreparable harm in the industry
                                       as plaintiffs suggest especially given the contrary proffer of xAI’s own success.

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                                        Case 4:24-cv-04722-YGR            Document 121         Filed 03/04/25      Page 9 of 16




                                  1           Here, plaintiffs complain about (i) Reid Hoffman’s service on the OpenAI board from
                                  2    March 2018 to March 2023 having also served on Microsoft’s board since 2017 and (ii) Deannah
                                  3    Templeton’s non-voting observer status on OpenAI’s board from November 2023 to July 2024
                                  4    having been a longtime Microsoft employee. Section 8, 15 U.S.C. § 19(a), provides:
                                                      No person shall, at the same time, serve as a director or officer in any
                                  5
                                                      two corporations (other than banks, banking associations, and trust
                                  6                   companies) that are--

                                  7
                                                        (A) engaged in whole or in part in commerce; and
                                                        (B) by virtue of their business and location of operation, competitors,
                                  8
                                                      so that the elimination of competition by agreement between them
                                  9                   would constitute a violation of any of the antitrust laws; . . . .

                                  10   The statute applies to corporations with capital, surplus, and undivided profits aggregating more
                                  11   than $48,559,000 and to corporations with competitive sales exceeding $4,855,900.6
                                  12          As described above, before addressing the merits, the standing to assert the claim must exist
Northern District of California
 United States District Court




                                  13   as a threshold inquiry. Here, the first question to address is whether there is a live case or
                                  14   controversy given that both Hoffman and Templeton resigned before the instant motion was filed,
                                  15   the former a year and a half before the motion and the latter four months before the motion.
                                  16          With respect to this issue, plaintiffs rely on longstanding doctrine that “voluntary cessation
                                  17   of allegedly illegal conduct does not . . . make [a] case moot.” United States v. W.T. Grant Co., 345
                                  18   U.S. 629, 632 (1953). W.T. Grant involved a civil action brought to stop allegedly interlocking
                                  19   directorates. Immediately after the filing of the complaint, the director at issue resigned and moved
                                  20   to dismiss the case as moot. Given the public interest in antitrust enforcement, and because a
                                  21   “defendant is free to return to his old ways” after voluntary cessation, the Supreme Court held the
                                  22   case was still suitable for adjudication unless the “defendant [could] demonstrate that there is no
                                  23   reasonable expectation that the wrong will be repeated.” Id. at 632-33 (internal cites omitted).
                                  24          Plaintiffs further cite TRW, Inc. v. Federal Trade Commission, which held similarly. 647
                                  25   F.2d 942 (9th Cir. 1981). There, a defendant who was alleged to be violating the prohibition on
                                  26   interlocking directorates made a similar claim that his resignation mooted the action. The Federal
                                  27          6
                                                 The Department of Commerce adjusts these thresholds annually. These amounts reflect
                                  28   the current and relevant thresholds for the purpose of determining a statutory violation. Two safe
                                       harbors apply. See 15 U.S.C. § 19(a)(2).

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                                       Case 4:24-cv-04722-YGR            Document 121          Filed 03/04/25    Page 10 of 16




                                  1    Trade Commission filed a complaint following the director’s resignation, and the Ninth Circuit,
                                  2    relying on W.T. Grant, rejected defendant’s mootness argument. See id. at 953.
                                  3           The Court finds plaintiffs’ cases to be distinguishable. First, with respect to W.T. Grant, the
                                  4    Supreme Court clarified its outer bounds in the subsequent case of Steel Co. v. Citizens for a Better
                                  5    Env’t., 523 U.S. 83 (1998):
                                  6
                                                      The United States, as amicus curiae, argues that the injunctive relief
                                  7                   does constitute remediation because there is a presumption of future
                                                      injury when the defendant has voluntarily ceased its illegal activity in
                                  8                   response to litigation, even if that occurs before a complaint is filed. .
                                                      . . This makes a sword out of a shield. The presumption the
                                  9
                                                      Government refers to has been applied to refute the assertion of
                                  10                  mootness by a defendant who, when sued in a complaint that alleges
                                                      present or threatened injury, ceases the complained-of activity.
                                  11                  See, e.g., United States v. W.T. Grant Co., 345 U.S. 629, 632, 73 S.Ct.
                                  12
                                                      894, 897, 97 L.Ed. 1303 (1953). It is an immense and unacceptable
                                                      stretch to call the presumption into service as a substitute for the
Northern District of California
 United States District Court




                                  13                  allegation of present or threatened injury upon which initial
                                                      standing must be based. . . . To accept the Government's view would
                                  14                  be to overrule our clear precedent requiring that the allegations of
                                  15                  future injury be particular and concrete. . . . Past exposure to illegal
                                                      conduct does not in itself show a present case or controversy regarding
                                  16                  injunctive relief . . . if unaccompanied by any continuing, present
                                                      adverse effects.
                                  17

                                  18   Id. at 109 (cleaned up) (emphasis supplied). Thus, while T.W. Grant may support the continuation

                                  19   of a court’s jurisdiction to hear a case that was properly filed, it may not provide standing at the

                                  20   outset of a case where none exists. In other words, the voluntary cessation doctrine applies only in

                                  21   situations where a plaintiff demonstrates standing at the outset.

                                  22          Shortly after Steel Co., the Supreme Court opined further on the distinction between

                                  23   standing and mootness.
                                                     The Court of Appeals justified its mootness disposition by reference
                                  24                 to Steel Co., which held that citizen plaintiffs lack standing to seek
                                                     civil penalties for wholly past violations. In relying on Steel Co., the
                                  25
                                                     Court of Appeals confused mootness with standing. The confusion is
                                  26                 understandable, given this Court's repeated statements that the doctrine
                                                     of mootness can be described as the doctrine of standing set in a time
                                  27                 frame . . . . Careful reflection on the long-recognized exceptions to
                                                     mootness, however, reveals that the description of mootness as
                                  28
                                                     standing set in a time frame is not comprehensive. As just noted, a


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                                       Case 4:24-cv-04722-YGR            Document 121          Filed 03/04/25    Page 11 of 16




                                                      defendant claiming that its voluntary compliance moots a case bears
                                  1
                                                      the formidable burden of showing that it is absolutely clear the
                                  2                   allegedly wrongful behavior could not reasonably be expected to recur.
                                                      . . . By contrast, in a lawsuit brought to force compliance, it is the
                                  3                   plaintiff's burden to establish standing by demonstrating that, if
                                                      unchecked by the litigation, the defendant's allegedly wrongful
                                  4
                                                      behavior will likely occur or continue, and that the threatened
                                  5                   injury [is] certainly impending.

                                  6    Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189-90 (2000)
                                  7    (cleaned up) (emphasis supplied).
                                  8           Thus, because plaintiffs cannot show that an injury existed at the time the complaint was
                                  9    filed, the argument that the voluntary cessation does not moot plaintiffs’ claim is irrelevant. There
                                  10   was no claim to moot. By the time plaintiffs filed the FAC7, four months had passed since the most
                                  11   recent alleged interlock had ended. This sets this case apart from W.T. Grant, which involved
                                  12   cessation after the filing of a complaint. It would also be impossible for this Court to accept
Northern District of California
 United States District Court




                                  13   plaintiffs’ standing arguments based on TRW without running afoul of later Supreme Court
                                  14   precedent, as explained above.
                                  15          Plaintiffs urge that there is imminent threat the interlocks will resume, but present no
                                  16   evidence to support the assertion. Plaintiffs submit news articles and interviews with Hoffman in
                                  17   which he suggests he was unhappy about resigning from the OpenAI board. Without more, the
                                  18   Court cannot say that Hoffman’s dissatisfaction with the situation gives rise to a colorable threat of
                                  19   a future interlock. Additionally, plaintiffs argue that the resignation only occurred in the context of
                                  20   suspicion from antitrust regulators, yet no concrete evidence of such suspicion is presented. The
                                  21   Court cannot issue an injunction that rests solely on plaintiffs’ unsupported allegations.
                                  22          In sum, because plaintiffs lack standing to bring this claim, the second request for injunctive
                                  23   relief is DENIED.8
                                  24

                                  25
                                              7
                                                The initial complaint was filed within a month of Templeton’s resignation, but makes no
                                       mention of the Section 8 claim. Only the FAC adds Templeton and Hoffman as defendants and
                                  26   alleges an interlock violation.
                                  27          8
                                                Because the Court finds plaintiffs without standing to bring this claim, the Court GRANTS
                                  28   the pending motion to dismiss Count XVI of the FAC. Further briefing on this topic is not
                                       necessary.

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                                       Case 4:24-cv-04722-YGR              Document 121           Filed 03/04/25      Page 12 of 16




                                  1            C.       Injunction Request No. 3: Breach of Charitable Trust
                                  2            Musk asks this Court for an injunction preventing Altman, Brockman, or OpenAI from
                                  3    taking steps towards converting the organization into a for-profit entity. With respect to this claim,
                                  4    the parties dispute whether Musk’s undisputed $44+ million donations created an enforceable
                                  5    contract or a charitable trust.
                                  6            California law holds that “[c]ourts favor the construction of a gift as a trust over a
                                  7    conditional gift . . . .” L.B. Rsch. & Educ. Found. V. UCLA Found., 130 Cal. App. 4th 171, 178
                                  8    (2005). Where “the donor clearly manifests an intention to make a conditional gift, that intention
                                  9    will be honored. The gift will be construed as one of a fee simple subject to a condition subsequent
                                  10   if . . . it is expressly provided in the instrument that the transferee shall forfeit it or that the
                                  11   transferer or his heir or a third person may enter for breach of the condition.” Id. (internal cites
                                  12   omitted).
Northern District of California
 United States District Court




                                  13           To support his claim, Musk submits emails that he claims evidence an intent to make the
                                  14   donation contingent on OpenAI remaining a non-profit:
                                          • A June 24, 2015 email exchange in which Altman informs Musk of his plans for OpenAI,
                                  15
                                              including making it a nonprofit “for the good of the world,” to which Musk responds:
                                  16          “Agree on all.” (Dkt. No. 32-2.)

                                  17       •   A December 2015 email from Musk to several OpenAI founders in which he states:
                                  18           “Congratulations on a great beginning! We are outmanned and outgunned by a ridiculous
                                               margin by organizations you know well, but we have right on our side and that counts for a
                                  19           lot. I like the odds.” (Dkt. No. 32-7.)
                                  20
                                           •   A February 22, 2016 email from Musk to Altman in which he says: “Either we get the best
                                  21           people in the world or we will get whipped by Deepmind. Whatever it takes to bring on ace
                                               talent is fine by me. Deepmind is causing me extreme mental stress. If they win, it will be
                                  22           really bad news with their one mind to rule the world philosophy.”9 (Dkt. No. 32-8.)
                                  23
                                           •   A March 2016 email from Brockman to Musk, describing the altruistic aims of the
                                  24           organization to which Musk responds: “Sounds good.” (Dkt. No. 32-9.)

                                  25       •   An April 2016 email from Musk stating: “History unequivocally illustrates that a powerful
                                  26           technology is a double-edged sword. It would be foolish to assume that AI, arguably the
                                               most powerful of all technologies, only has a single edge. The recent example of Microsoft's
                                  27           AI chatbot shows how quickly it can turn incredibly negative. The wise course of action is
                                  28
                                               9
                                                   DeepMind is an AI company acquired by Google in 2014.

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                                       Case 4:24-cv-04722-YGR           Document 121          Filed 03/04/25    Page 13 of 16




                                              to approach the advent of AI with caution and ensure that its power is widely distributed
                                  1
                                              and not controlled by any one company or person. That is why we created OpenAI.” (Dkt.
                                  2           No. 32-10.)

                                  3       •   An August 2017 email from Zilis to Musk describing Altman and Brockman’s proposed
                                  4
                                              corporate structure for OpenAI, to which Musk responds: “This is very annoying. Please
                                              encourage them to go start a company. I've had enough.” (Dkt. No. 32-13.)
                                  5
                                          •   A September 2017 email exchange between Musk and Altman, in which Musk expressed
                                  6
                                              annoyance with the ostensible moves towards a profit motive, saying: “Guys, I've had
                                  7           enough. This is the final straw. Either go do something on your own or continue with
                                              OpenAI as a nonprofit. I will no longer fund OpenAI until you have made a firm
                                  8           commitment to stay or I'm just being a fool who is essentially providing free funding for
                                              you to create a startup. Discussions are over.” Altman responds: “I remain enthusiastic
                                  9
                                              about the non-profit structure!” (Dkt. No. 32-14.)
                                  10
                                          •   Various posts on the Musk-owned social media website X (formerly Twitter), from 2023
                                  11          and 2024 expressing anger at OpenAI’s betrayal of its original non-profit motivations. (Dkt.
                                              Nos. 46-10 – 46-15.)
                                  12
Northern District of California
 United States District Court




                                  13
                                       Other than these emails, no contract or gifting document with terms and conditions exists. On this
                                  14
                                       basis, defendants dispute the allegations.
                                  15
                                              Whether Musk’s emails and social media posts constitute a writing sufficient to constitute
                                  16
                                       an actual contract or charitable trust between the parties is debatable. On the one hand, the email
                                  17
                                       exchanges convey early communications regarding altruistic motives of OpenAI’s early days and
                                  18
                                       even include reassurances about those motives from Altman and Brockman when they perceived
                                  19
                                       Musk as upset. The Court therefore disagrees with defendants’ framing that there is no evidence
                                  20
                                       that “Altman, Brockman, or OpenAI solicited his donations subject to these commitments.”
                                  21
                                       (OpenAI Oppo. at 20.) At the same time, though highly suggestive, the emails do not by themselves
                                  22
                                       necessarily demonstrate a likelihood of success. There is, for example, defendants’ counter-
                                  23
                                       evidence implying that Musk himself considered the possibility of being the one to turn OpenAI
                                  24
                                       into a for-profit. (Dkt. No. 32-17; FAC, Ex. 16.) On balance, the Court finds the emails are
                                  25
                                       insufficient for purposes of the high burden required for a preliminary injunction10 and the question
                                  26
                                       of likelihood of success on the merits to be a toss-up.
                                  27
                                              10
                                  28              On February 13, 2025, the OpenAI defendants filed a request to introduce a letter of
                                       intent that Musk, through counsel, sent to the board of OpenAI on February 10, 2025, the week

                                                                                         13
                                       Case 4:24-cv-04722-YGR            Document 121          Filed 03/04/25    Page 14 of 16




                                  1           Because of this, the remaining Winter factors are derivative of, and dependent on, the first.
                                  2    If a trust was indeed created, then preventing or remedying breach would be in the public interest.
                                  3           For this inquiry, the Court looks to OpenAI’s certificates of incorporation in both Delaware
                                  4    and California, which lay out the charitable purposes behind the corporation. The documents state
                                  5    that OpenAI was “organized exclusively for charitable and/or educational purpose” and “not
                                  6    organized for the private gain of any person.” (See, e.g., Dkt. No. 32-22 at 5 (emphasis supplied).)
                                  7    Going further, they state that “[t]he specific purpose of this corporation is to provide funding for
                                  8    research, development and distribution of technology related to artificial intelligence. The resulting
                                  9    technology will benefit the public and the corporation will seek to open source technology for the
                                  10   public benefit when applicable.” (Id.) The Court takes plaintiffs’ point that to the extent a transfer
                                  11   to a for-profit structure risks any of these endeavors, the public would benefit from an injunction.
                                  12          Next, and similarly, if a trust was created, the balance of equities would certainly tip
Northern District of California
 United States District Court




                                  13   towards plaintiffs in the context of a breach. As Altman and Brockman made foundational
                                  14   commitments foreswearing any intent to use OpenAI as a vehicle to enrich themselves, the Court
                                  15   finds no inequity in an injunction that seeks to preserve the status quo of OpenAI’s corporate form
                                  16   as long as the process proceeds in an expedited manner.
                                  17          The third element is likewise similar. Plaintiffs attest that the irreparable harm in this
                                  18   instance flows from the abuse of donor funds and tax deductions. Plaintiffs first described the harm
                                  19   as being the “competitive advantage . . . of being able to raise . . . publicly tax-subsidized money to
                                  20   develop technology, and then transferring the technology to an opaque web of for-profit entities and
                                  21   benefiting from that when competitors are supposed to compete on a level playing field.” (Dkt. No.
                                  22   109 at 64:6-13.) When the Court paraphrased and asked if it was accurate to say the claim of
                                  23
                                       after the hearing on this motion. In that letter, Musk offers, “[o]n behalf of a consortium of buyers,”
                                  24
                                       “to acquire all assets . . . of OpenAI” for $97,375,000,000. (Dkt. No. 118-1.) Defendants argue this
                                  25   offer is inconsistent with Musk’s claims of breach of charitable trust or the notion that no transfers
                                       or changes should be allowed, with apparently, the exception of Musk. (Dkt. No. 118 at 1.) In
                                  26   opposition, plaintiffs assert the letter of intent is “entirely irrelevant” to their injunction request.
                                  27
                                       (Dkt. No. 119 at 1.) Given plaintiff’s failure to meet its burden, the Court need not consider this
                                       additional interaction between the parties although it does undermine the claim of irreparable harm.
                                  28   The motion to file additional evidence at Dkt. No. 118 is GRANTED but moot.


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                                       Case 4:24-cv-04722-YGR            Document 121          Filed 03/04/25    Page 15 of 16




                                  1    irreparable harm is “that people shouldn't be able to take a tax deduction from a nonprofit who then
                                  2    can convert that money for for-profit enterprises,” plaintiffs agreed. (Id. at 64:16-21.) The Court
                                  3    agrees that significant and irreparable harm is incurred when the public’s money is used to fund a
                                  4    non-profit’s conversion into a for-profit.
                                  5           Because the threshold question of whether a charitable trust was created remains a toss-up,
                                  6    Musk has not demonstrated likelihood of success on the merits sufficient to obtain an injunction.
                                  7    The request for an injunction barring any steps towards OpenAI’s conversion to a for-profit entity
                                  8    is DENIED.11 That said, given the other considerations outlined, the Court finds that the case would
                                  9    benefit from an expedited trial on the claim.
                                  10          D.      Injunction Request No. 4: Self-Dealing
                                  11          Fourth, Musk and Zilis, both derivatively on behalf of OpenAI, bring a claim under
                                  12   California Corporation Code Section 5233 for engaging in self-dealing.
Northern District of California
 United States District Court




                                  13          Section 5233 defines a self-dealing transaction as one “to which the corporation is a party
                                  14   and in which one or more of its directors has a material financial interest and which does not meet
                                  15   the requirements” of three safe harbor provisions. Subsection (c) enumerates those who have
                                  16   standing to bring a suit to remedy self-dealing transactions, namely:
                                  17
                                                      The Attorney General or, if the Attorney General is joined as an
                                  18                  indispensable party, any of the following may bring an action in the
                                                      superior court of the proper county for the remedies specified in
                                  19                  subdivision (h):
                                  20                          (1) The corporation, or a member asserting the right in the name
                                                                  of the corporation pursuant to Section 5710.
                                  21                          (2) A director of the corporation.
                                  22                          (3) An officer of the corporation.
                                                              (4) Any person granted relator status by the Attorney General.
                                  23

                                  24          11
                                                 Defendants also challenge plaintiffs’ standing. As Musk has not been directly affiliated
                                  25   with OpenAI for several years, any standing must come from an interest in OpenAI’s assets.
                                       California Corporations Code Section 5142(a). The Court is aware of the distinction between
                                  26   Restatement (Second) of Trusts § 391 and Restatement (Third) of Trusts § 94 and cmt. g, plus the
                                  27
                                       California state authorities following the Restatement (Third). Thus, for purposes of this motion,
                                       the Court finds plaintiffs’ standing sufficient as a settlor given the modern trend in that direction.
                                  28   The motion to dismiss on this issue is DENIED. Further briefing on this topic is not necessary.


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                                       Case 4:24-cv-04722-YGR            Document 121          Filed 03/04/25     Page 16 of 16




                                  1    Cal. Corp. Code. § 5233(c).
                                  2           Here, neither Musk nor Zilis is a director (subsection (c)(2)) or officer (subsection (c)(3))
                                  3    and neither has been granted relator status by the Attorney General (subsection (c)(4)).12 Thus, in
                                  4    order to “bring” an action, plaintiffs must qualify under subsection (c)(1), i.e. “be a member
                                  5    asserting rights under Section 5710.” Despite expending considerable paper explaining why the
                                  6    requirements of Section 5710 are met, Musk and Zilis are not currently members of OpenAI. That
                                  7    Musk and Zilis may have been members at one point is insufficient as a matter of law. Neither
                                  8    Zilis nor Musk have standing to seek relief under the statute.
                                  9           The fourth request for an injunction is therefore DENIED.13
                                  10   IV.    CONCLUSION
                                  11          For the reasons stated above, plaintiffs’ motion is DENIED.
                                  12          That said, given the public interest at stake and potential for harm if a conversion contrary
Northern District of California
 United States District Court




                                  13   to law occurred, the Court is prepared to expedite trial to the fall of 2025 solely on that claim and
                                  14   potentially the interrelated contract-based claims. However, the Court would require all ancillary
                                  15   claims to be stayed. As discussed at the hearing, it is unlikely the full case will be ready for trial
                                  16   until 2027 or 2028. The parties shall meet and confer on the issue and file a joint statement not
                                  17   exceeding eight (8) pages by March 14, 2025. The Court sets a case management conference on
                                  18   March 21, 2025 at 8:00 a.m. in the United States District Court, Oakland, California, Courtroom
                                  19   One.
                                  20          This terminates Docket Nos. 46, 118.
                                  21          IT IS SO ORDERED.
                                  22   Date: March 4, 2025                               _______________________________________
                                                                                                 YVONNE GONZALEZ ROGERS
                                  23                                                        UNITED STATES DISTRICT COURT JUDGE
                                  24

                                  25
                                              12
                                                 Musk and Zilis have asked the Attorney General to grant them relator status, but as of yet
                                  26   the Attorney General has not responded.
                                  27          13
                                                Because the Court finds plaintiffs without standing to bring this claim, the Court GRANTS
                                  28   the pending motion to dismiss Count XXIII of the FAC. Further briefing on this topic is not
                                       necessary.

                                                                                          16
